                        Case
AO 245C (Rev. 09/) Amended    2:17-cr-00152-RFB
                             Judgment in a Criminal Case         Document 67 Filed 10/21/20 Page  1 of
                                                                                              (NOTE:    10 Changes with Asterisks (*))
                                                                                                     Identify
                     Sheet 1


                                        UNITED STATES DISTRICT COURT
                                                     __________ District
                                                            District     of __________
                                                                     of Nevada
                                                                            )
              UNITED STATES OF AMERICA
                                                                            )
                                                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                                  v.                                        )
                  RONALD HASSAN CLARK                                       )   Case Number: 2:17-cr-00152-RFB-1
                                                                            )   USM Number: 53851-048
Date of Original Judgment:             * 9/25/2017                          )   * CRISTEN     THAYER, AFPD
                                       (Or Date of Last Amended Judgment)   )   Defendant’s Attorney


THE DEFENDANT:
✔ pleaded guilty to count(s)
G                              One and Two of the Criminal Information filed 6/05/2017.
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                 Nature of Offense                                                           Offense Ended                Count
18 U.S.C. § 1951(a)             Interference with Commerce by Robbery                                       12/19/2016                     1

18 U.S.C. § 924(c)(1)(A)(ii) Brandishing of a Firearm in Furtherance of a Crime of Violence                 12/19/2016                     2


       The defendant is sentenced as provided in pages 2 through                7         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s)                                       G is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                                          9/25/2017
                                                                                Date of Imposition of Judgment


                                                                                Signature of Judge
                                                                                RICHARD F. BOULWARE, II                        U.S. District Judge
                                                                                Name and Title of Judge
                                                                                                            10/20/2020
                                                                                Date
                       CaseJudgment
AO 245C (Rev. 09/) Amended    2:17-cr-00152-RFB
                                       in a Criminal Case   Document 67 Filed 10/21/20 Page 2 of 10
                     Sheet 2 — Imprisonment                                                             (NOTE: Identify Changes with Asterisks (*))
                                                                                                   Judgment — Page         2     of         7
DEFENDANT: RONALD HASSAN CLARK
CASE NUMBER: 2:17-cr-00152-RFB-1

                                                            IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of : Twelve (12) months as to Count One to run consecutive to Count Two.
* Time served as to remaining Two of the Criminal Information.




G      The court makes the following recommendations to the Bureau of Prisons:
        The Court makes the recommendation that defendant be permitted to participate in the RDAP Program and
        defendant be permitted to serve his term of incarceration in a facility in New Jersey to be near family members.



G      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G     at                                 G    a.m.      G    p.m.      on                                       .

       G     as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G     before 2 p.m. on                                            .

       G     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                               RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                        to

at                                                   with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                         By
                                                                                           DEPUTY UNITED STATES MARSHAL
                         CaseJudgment
 AO 245C (Rev. 09/) Amended    2:17-cr-00152-RFB
                                          in a Criminal Case   Document 67 Filed 10/21/20 Page 3 of 10
                       Sheet 3 — Supervised Release                                                      (NOTE: Identify Changes with Asterisks (*))
                                                                                                        Judgment—Page      3      of         7
DEFENDANT: RONALD HASSAN CLARK
CASE NUMBER: 2:17-cr-00152-RFB-1
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 Three (3) years as to Count One; Four (4 )years as to Count Two; Both Counts to run concurrent to one another.




                                                   MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the courtQRWWRH[FHHGWHVWVDQQXDOO\.
         G The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
               substance abuse. (check if applicable)
4.   G   You   must  make restitution in accordance with 18 U.S.C. § 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.   ✔
     G   You   must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.   G   You   must  comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.   G   You   must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
                        CaseJudgment
AO 245C (Rev. 09/) Amended   2:17-cr-00152-RFB
                                        in a Criminal Case   Document 67 Filed 10/21/20 Page 4 of 10
                      Sheet 3A — Supervised Release
                                                                                                        Judgment—Page        4   of        7
DEFENDANT: RONALD HASSAN CLARK
CASE NUMBER: 2:17-cr-00152-RFB-1

                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
    You must answer truthfully the questions asked by your probation officer.
    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officerto
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
   If WKHSUREDWLRQRIILFHUGHWHUPLQHVWKDW\RXSRVHDULVNWRDQRWKHUSHUVRQ LQFOXGLQJDQRUJDQL]DWLRQ WKHSUREDWLRQRIILFHUPD\
      UHTXLUH\RXWRQRWLI\WKHSHUVRQDERXWWKHVSHFLILFULVNVSRVHGE\\RXUFULPLQDOUHFRUGDQG\RXPXVWFRPSO\ZLWKWKDWLQVWUXFWLRQ
      7KHSUREDWLRQRIILFHUPD\FRQWDFWWKHSHUVRQDQGFRQILUPWKDW\RXKDYHQRWLILHGWKHSHUVRQDERXWWKHVSHFLILFULVNVSRVHGE\\RXU
      FULPLQDOUHFRUG
   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                      Date
                       CaseJudgment
AO 245C (Rev. 09/) Amended   2:17-cr-00152-RFB
                                       in a Criminal Case   Document 67 Filed 10/21/20 Page 5 of 10
                     Sheet 3D — Supervised Release                                               (NOTE: Identify Changes with Asterisks (*))
                                                                                              Judgment—Page        5      of         7
DEFENDANT: RONALD HASSAN CLARK
CASE NUMBER: 2:17-cr-00152-RFB-1

                                      SPECIAL CONDITIONS OF SUPERVISION
  1. Substance Abuse Treatment – You must participate in an outpatient substance abuse treatment program and follow
  the rules and regulations of that program. The probation officer will supervise your participation in the program (provider,
  location, modality, duration, intensity, etc.). You must pay the costs of the program.

  2. Drug Testing – You must submit to substance abuse testing to determine if you have used a prohibited substance.
  Testing shall not exceed 104 tests per year. You must pay the costs of the testing. You must not attempt to obstruct or
  tamper with the testing methods.

  3. Mental Health Treatment – You must participate in a mental health treatment program and follow the rules and
  regulations of that program. The probation officer, in consultation with the treatment provider, will supervise your
  participation in the program (provider, location, modality, duration, intensity, etc.). You must pay the costs of the program.

  4. Search and Seizure – You must submit your person, property, house, residence, vehicle, papers, computers (as
  defined in 18 U.S.C. § 1030(e)(1)), other electronic communications or data storage devices or media, or office, to a
  search conducted by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of
  release. You must warn any other occupants that the premises may be subject to searches pursuant to this condition.

  The probation officer may conduct a search under this condition only when reasonable suspicion exists that you have
  violated a condition of supervision and that the areas to be searched contain evidence of this violation. Any search must
  be conducted at a reasonable time and in a reasonable manner.

  5. Home Confinement - You shall be confined to home confinement for one (1) year after you are released from custody.

  6. Drug Treatment - You shall be required to participate and complete a drug treatment program while on home
  confinement.

  7. Employment - You shall be required to obtain full-time employment prior to being released from home confinement.
  Failure to obtain full time employment within a year of your commencement of supervision will be considered a violation of
  conditions of supervision.

  8. Community Service - You shall be required to complete 300 hours of community service as approved and directed by
  the Probation Department.

  9. Vocational or Education Program - You shall be required to enroll in a vocational or educational program prior to
  your release to home confinement.

  10.Life-plan - You shall be required to meet with this Court, prior to your release from home confinement, to review your
  plans upon your release from home confinement.

  11.Status Check - You shall be required to meet this this Court to discuss your plan and conditions of supervision going
  forward within 30 days of release from custody.
AO 245C (Rev. 09/      CaseJudgment
                      Amended    2:17-cr-00152-RFB
                                         in a Criminal Case    Document 67 Filed 10/21/20 Page 6 of 10
                      Sheet 5 — Criminal Monetary Penalties                                                      (NOTE: Identify Changes with Asterisks (*))
                                                                                                        Judgment — Page         6     of          7
DEFENDANT: RONALD HASSAN CLARK
CASE NUMBER: 2:17-cr-00152-RFB-1
                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment            5HVWLWXWLRQ)LQHAVAA Assessment*JVTA AssessPHQW
TOTALS            $ 200.00              $ 0.00                           $ 0.00                        $ 0.00                   $ 0.00


G The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                              Total Loss***                        Restitution Ordered                        Priority or Percentage




TOTALS                             $                          0.00          $                          0.00


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for          G fine         G restitution.
     G the interest requirement for the        G fine         G restitution is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
                         CaseJudgment
AO 245C (Rev. 09/) Amended    2:17-cr-00152-RFB
                                         in a Criminal Case    Document 67 Filed 10/21/20 Page 7 of 10
                      Sheet 6 — Schedule of Payments                                                       (NOTE: Identify Changes with Asterisks (*))
                                                                                                        Judgment — Page      7      of         7
DEFENDANT: RONALD HASSAN CLARK
CASE NUMBER: 2:17-cr-00152-RFB-1

                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ✔ Lump sum payment of $
     G                                  200.00                due immediately, balance due.

          G not later than                                       , or
          G in accordance with G C,              G D,     G      E, or    G F below; or
B    G Payment to begin immediately (may be combined with                G C,      G D, or G F below); or
C    G Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Case Number
     Defendant and Co-Defendant Names                                               Joint and Several                Corresponding Payee,
     (including defendant number)                     Total Amount                       Amount                          if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:
*     See Amended Final Order of Forfeiture (attached).


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
Case 2:17-cr-00152-RFB Document 67 Filed 10/21/20 Page 8 of 10
Case 2:17-cr-00152-RFB Document 67 Filed 10/21/20 Page 9 of 10
Case 2:17-cr-00152-RFB Document 67 Filed 10/21/20 Page 10 of 10
